Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 1 of 28 PageID #: 4523



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NEW YORK

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                                      :
         UNITED STATES OF AMERICA,    :
                                      :          CR-04-966 (FB)
                  v.                  :
                                      :          June 3, 2008
         RUSSELL ALLEN,               :
                                      :          Brooklyn, New York
                        Defendant.    :
                                      :
         -----------------------------X


                  TRANSCRIPT OF CRIMINAL CAUSE FOR PLEADING
                  BEFORE THE HONORABLE VIKTOR V. POHORELSKY
                        UNITED STATES MAGISTRATE JUDGE

         APPEARANCES:

         For the Government:              ROSLYNN R. MAUSKOPF, ESQ.
                                          UNITED STATES ATTORNEY
                                          BY: CAROLYN POKORNY, ESQ.
                                          ASSISTANT U.S. ATTORNEY
                                          225 Cadman Plaza East
                                          Brooklyn, New York 11201


         For the Defendant:               XAVIER DONALDSON, ESQ.




         Audio Operator:


         Court Transcriber:               ARIA TRANSCRIPTIONS
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         Proceedings recorded by electronic sound recording,
         transcript produced by transcription service
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 2 of 28 PageID #: 4524
                                                                                2



  1               THE CLERK:    Criminal cause for a guilty plea in

  2   CR-04-966, the United States of America against Russell

  3   Allen.    Counsel, please state your appearances for the

  4   record.

  5               MS. POKORNY:    Good afternoon, your Honor.        Carolyn

  6   Pokorny and Brendan King for the government.

  7               MR. DONALDSON:     For Mr. Allen, Xavier R.

  8   Donaldson.    Good afternoon.

  9               THE COURT:    Good afternoon.     Please be seated.

10    Mr. Allen, I'm told that you're prepared to plead guilty to

11    a criminal offense.      The decision to do that is a serious

12    decision.

13                Before the Court can accept your guilty plea, the

14    Court has to be satisfied that you understand the rights

15    that you are waiving by pleading guilty and the consequences

16    that may occur once you plead guilty.

17                I'll discuss those matters with you today.          I'll

18    be asking you some questions as well.         The answers to the

19    questions must be given under oath so my courtroom deputy

20    now will administer an oath for you to take.

21                (Defendant is sworn)

22                THE CLERK:    Please state your name for the record.

23                THE DEFENDANT:     Russell Allen.

24                THE CLERK:    Thank you.

25                THE COURT:    Alright, Mr. Allen, you may be seated.
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 3 of 28 PageID #: 4525
                                                                                3



  1   You've taken an oath to tell the truth.          That means you are

  2   required to do so.       If you should lie or intentionally

  3   mislead the Court today, you would be subject to prosecution

  4   for the crime of perjury or making false statements.

  5               Do you understand that?

  6               THE DEFENDANT:     Yes.

  7               THE COURT:    If there's anything you do not

  8   understand today, please don't hesitate to tell me.            I'll be

  9   happy to clarify or provide further explanations about any

10    matter that's not entirely clear to you.

11                Do you understand that?

12                THE DEFENDANT:     Yes.

13                THE COURT:    How old are you?

14                THE DEFENDANT:     Thirty.

15                THE COURT:    How far did you go in school?

16                THE DEFENDANT:     GED.

17                THE COURT:    Have you had any difficulty

18    communicating with your attorney and understanding what he's

19    explained to you about the charges here, about your rights

20    or about anything else related to this matter?

21                THE DEFENDANT:     No, I have not.

22                THE COURT:    Are you now or have you recently been

23    under the care of a doctor or a psychiatrist for any reason?

24                THE DEFENDANT:     No, not at the moment.

25                THE COURT:    In the last 24 hours have you taken
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 4 of 28 PageID #: 4526
                                                                                4



  1   any pills or drugs or medications of any kind or did you

  2   have any alcoholic beverage to drink?

  3               THE DEFENDANT:     No, I have not.

  4               THE COURT:    Have you ever been hospitalized or

  5   treated for any drug related problem like narcotics

  6   addiction or something else like that?

  7               THE DEFENDANT:     No, I have not.

  8               THE COURT:    Is your mind clear now as you sit

  9   here?

10                THE DEFENDANT:     Yes, it is.

11                THE COURT:    Mr. Donaldson, I presume you've

12    discussed the question of entering a guilty plea with Mr.

13    Allen.

14                MR. DONALDSON:     Thoroughly.

15                THE COURT:    In your view, does he understand the

16    rights that he'll be waiving by pleading guilty?

17                MR. DONALDSON:     Yes, he does.

18                THE COURT:    Do you have any question about his

19    competency to proceed today?

20                MR. DONALDSON:     No, I do not.

21                THE COURT:    Were you appointed or were you

22    retained, Mr. Donaldson?

23                MR. DONALDSON:     Retained.

24                THE COURT:    Mr. Allen, are you satisfied with the

25    assistance that Mr. Donaldson has given you thus far in this
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 5 of 28 PageID #: 4527
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  1   case?

  2               THE DEFENDANT:     Yes, I am.

  3               THE COURT:    Do you feel that you need any more

  4   time to discuss with him the decision to plead guilty before

  5   we proceed today?

  6               THE DEFENDANT:     No, I do not.

  7               THE COURT:    I understand you're prepared to plead

  8   guilty to a charge that's found in a superseding information

  9   that's been prepared by the United States Attorney.

10                Let me ask you first, did you receive a copy of

11    the superseding information at some point?

12                THE DEFENDANT:     Yes, I did.

13                THE COURT:    Have you discussed the charge in this

14    information with your attorney?

15                THE DEFENDANT:     Yes.

16                THE COURT:    Do you understand the charge?

17                THE DEFENDANT:     Yes.

18                THE COURT:    Alright.    I'm going to go over the

19    charge in a little detail with you.          The superseding

20    information charges you with racketeering.

21                To be more specific, racketeering in connection

22    with an enterprise that has been denominated in the

23    information as the McGriff Enterprise (ph).

24                If the government were to have to prove this case

25    at a trial, it would have to prove several facts or a
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 6 of 28 PageID #: 4528
                                                                                6



  1   variety of facts, actually.

  2               First of all, they'd have to prove that an

  3   enterprise similar to the one -- or an enterprise that is

  4   like the one charged in the indictment actually existed.             An

  5   enterprise for purposes of this statute is a group of

  6   people, group of individuals, who work together to

  7   accomplish objectives of the enterprise through the conduct

  8   of certain kinds of criminal activities.

  9               In this indictment it's charged that the objective

10    of the enterprise here was to make money.          And so the

11    government would have to prove there was such an enterprise.

12    A group of individuals who got together to make money.

13                And it's also charged that they went about making

14    money was through the commission of crimes including murder,

15    conspiracy to murder, sales of narcotics, money laundering.

16                And, also, that in order to promote the activities

17    of the enterprise, the members of the enterprise would

18    intimidate others through threats of violence and through

19    violence to prevent others from cooperating with law

20    enforcement.

21                So, the government would have to prove, first of

22    all, that such an enterprise existed.         They'd also have to

23    prove that you were one of the people who was part of this

24    enterprise.    You were one of the group of people who got

25    together and committed these kinds of acts or at least some
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 7 of 28 PageID #: 4529
                                                                                7



  1   of those kinds of acts.

  2               They'd have to prove that this enterprise and your

  3   participation in it was ongoing in the period of time

  4   between May of 2001 and November of 2001.

  5               And they'd have to prove that you committed at

  6   least two acts, racketeering acts, that is two crimes, of

  7   the kinds specified by the law as the types of crimes that

  8   are covered by the racketeering law.

  9         They'd have to prove that the two crimes that you

10    committed in connection with that were, first, the murder of

11    Eric Smith, also known as E. Moneybags, on July 16th of 2001.

12                And they'd have to prove also a second act that

13    you conspired to murder Troy Singleton (ph).           And that

14    means -- and I'll explain conspiracy in a second -- that you

15    conspired to murder Troy Singleton during the period -- and

16    the conspiracy was ongoing in the period of time roughly

17    between July 1, 2001 and October 28, 2001.

18                Conspiracy means that you and at least one other

19    person agreed to work together to cause the death of Troy

20    Singleton.    That is that you both understood that you would

21    work together to accomplish that criminal purpose.

22                So, in order to prove this offense at trial, just

23    to summarize, if there was a trial, the government would

24    have to prove there was an enterprise, a group of people who

25    worked together through criminal conduct to make money.
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 8 of 28 PageID #: 4530
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  1               They'd have to prove that you were one of the

  2   people who was part of this enterprise.          And they'd have to

  3   prove that you committed the two crimes I just mentioned

  4   while you were participating in the enterprise and for the

  5   purposes of advancing the goals of the enterprise.

  6               Do you understand what I've explained to you about

  7   this?

  8               THE DEFENDANT:     Yes, Sir.

  9               THE COURT:    This crime is a felony because it's

10    punishable by imprisonment for more than a year.             Because

11    it's a felony, you have the right to have this charge

12    brought against you by means of a document called an

13    indictment.

14                Right now the charge is brought against you by

15    means of a superseding information.         And an information is

16    different from an indictment in this respect.           An

17    information has never been reviewed by anybody other than

18    the prosecutor to see if the charges should go forward.

19                An indictment is a document that has, in fact,

20    been reviewed by a different group of people called a grand

21    jury.

22                A grand jury is a group of between sixteen and

23    twenty-three people, ordinary citizens.          Their task is to

24    listen to evidence presented by the prosecutor and make a

25    determination as to whether the evidence is sufficient to
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 9 of 28 PageID #: 4531
                                                                                9



  1   establish probable cause the prosecutor wants to charge with

  2   a crime actually committed the crime.

  3               Now, you have the right to have this charge

  4   brought against you by means of an indictment.           By means of

  5   a document that's been reviewed by the grand jury.

  6               You can waive that right.       But if you don't waive

  7   the right, then the only way the government could continue

  8   with this charge is to present evidence to the grand jury

  9   and then have the grand jury vote on the indictment.

10                At least twelve of the members of the grand jury

11    would have to vote in favor of the indictment.           And if

12    twelve members, twelve or more, did not vote in favor, then

13    the charge couldn't proceed.

14                Do you understand what I've explained about your

15    right to indictment?

16                THE DEFENDANT:     Yes.

17                THE COURT:    Have you discussed the concept of

18    waiving your right to indictment with your attorney?

19                THE DEFENDANT:     Yes.

20                THE COURT:    Do you wish to waive your right to

21    indictment?

22                THE DEFENDANT:     Yes.

23                THE COURT:    Has anybody threatened you or made any

24    promises to you to induce you to waive your right to

25    indictment?
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 10 of 28 PageID #: 4532
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  1               THE DEFENDANT:     No, Sir.

  2               THE COURT:    I have a document, it's entitled

  3   "Waiver of Right to Indictment".          It appears to be signed by

  4   you.   Let me ask you, please, to look at this document.

  5               Is that your signature at the bottom of the page

  6   there?

  7               THE DEFENDANT:     Yes, Sir.

  8               THE COURT:    Alright.    I find then that Mr. Allen

  9   understands his right to indictment.          That he has knowingly

 10   and voluntarily waived that right.         And so we will proceed

 11   with this matter on the basis of the superseding

 12   information.

 13               The first and perhaps most important thing you

 14   should understand, Mr. Allen, is that you have the right to

 15   plead not guilty to the charge in this information even if

 16   you're guilty.

 17               Do you understand that?

 18               THE DEFENDANT:     Yes.

 19               THE COURT:    If you maintain a plea or if you enter

 20   a plea of not guilty to the charge, you have the right to a

 21   speedy and public trial before a jury with the assistance of

 22   your attorney on this charge.

 23               Do you understand that?

 24               THE DEFENDANT:     Yes.

 25               THE COURT:    At a trial, you would be presumed to
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 11 of 28 PageID #: 4533
                                                                             11



  1   be innocent.     You would not have to prove that you were

  2   innocent.    You would not have to prove anything.

  3               The prosecution has the burden of proof at a

  4   criminal trial.      And the prosecution's burden is to produce

  5   evidence in court that is admissible and that satisfies a

  6   jury unanimously that the defendant is guilty beyond a

  7   reasonable doubt.

  8               If the government could not meet that burden of

  9   proof at your trial, then the jury would have the duty to

 10   find you not guilty even if you were guilty.

 11               Do you understand that?

 12               THE DEFENDANT:     Yes.

 13               THE COURT:    At a trial, witnesses for the

 14   government would have to come to court and testify in your

 15   presence.    Your attorney could cross-examine the witnesses.

 16   He could object to the evidence the government tried to

 17   introduce.     He could offer evidence in your behalf.          He

 18   could require witnesses to come to court and testify in your

 19   behalf if there were witnesses who had information that

 20   might be useful to your defense.

 21               Do you understand that?

 22               THE DEFENDANT:     Yes.

 23               THE COURT:    At the trial, you would have the right

 24   to testify in your own behalf if you chose to testify.               You

 25   could not, however, be required to testify.           The choice
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 12 of 28 PageID #: 4534
                                                                            12



  1   would be entirely up to you.

  2               And this is because the Constitution of the United

  3   States guarantees that no defendant in a criminal case can

  4   be required to take the witness stand and say something that

  5   might be used to show that he's guilty.

  6               If you chose to have a trial but chose not to

  7   testify at the trial, the Court would instruct the jury that

  8   they could not hold that against you.

  9               Do you understand that?

 10               THE DEFENDANT:     Yes.

 11               THE COURT:    If, instead of going to trial, you

 12   plead guilty and if your guilty plea is accepted, you will

 13   be giving up your constitutional right to a trial and all

 14   the other rights I've just discussed.

 15               There will be no trial in this case.         You'll have

 16   no right to appeal to a higher Court on the question of

 17   whether or not you're guilty.

 18               Judge Block will enter a judgement of guilty and

 19   impose a sentence on you based solely on your plea of guilty

 20   and without any trial whatsoever.

 21               Do you understand that?

 22               THE DEFENDANT:     Yes.

 23               THE COURT:    If you plead guilty, I will have to

 24   ask you some questions about what you did in order to

 25   satisfy myself that you are guilty.
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 13 of 28 PageID #: 4535
                                                                            13



  1               In doing that, you will be -- In answering the

  2   questions, you will be giving up your right, the right I

  3   mentioned a few moments ago, not to say something that can

  4   be used to show that you're guilty.

  5               Do you understand that?

  6               THE DEFENDANT:     Yes.

  7               THE COURT:    Mr. Allen, are you willing to give up

  8   your right to a trial and the other rights I've just

  9   discussed with you?

 10               THE DEFENDANT:     Yes, Sir.

 11               THE COURT:    This is Judge Block's case.        And that

 12   means Judge Block is the judge who will sentence you if you

 13   plead guilty.     Judge Block is also the judge who will make

 14   the final decision about whether to accept your guilty plea.

 15               If you wish, you have the absolute right to have

 16   Judge Block listen to the guilty plea.          And if you chose to

 17   have him listen to the plea instead of me, you could suffer

 18   no harm or prejudice of any kind because you made that

 19   decision.

 20               Do you understand me so far?

 21               THE DEFENDANT:     Yes.

 22               THE COURT:    You can waive your right to have Judge

 23   Block listen to your guilty plea and permit me to listen to

 24   your plea if you wish.

 25               A recording is now being made of this proceeding.
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 14 of 28 PageID #: 4536
                                                                              14



  1   A written transcript of this proceeding will be prepared for

  2   Judge Block to review so that he can make the final

  3   determination about whether to accept your plea.            And he may

  4   also review that in connection with sentencing.

  5               I have a document here that appears to be signed

  6   by you which indicates you are willing to permit me to

  7   listen to your plea.       And in doing that, of course, you'll

  8   be giving up your right to have Judge Block listen to the

  9   plea.

 10               Let me ask you to review this document if you

 11   would.    Is that your signature on this document?

 12               THE DEFENDANT:     Yes, Sir.

 13               THE COURT:    Do you, in fact, wish to give up your

 14   right to have Judge Block listen to the plea and permit me

 15   to listen to the plea?

 16               THE DEFENDANT:     Yes, Sir.

 17               THE COURT:    Do you make that decision voluntarily

 18   and of your own free will?

 19               THE DEFENDANT:     Yes, Sir.

 20               THE COURT:    Has anybody threatened you or made any

 21   promise to you to induce you to allow me to listen to the

 22   plea?

 23               THE DEFENDANT:     No, Sir.

 24               THE COURT:    Alright.    I understand you do have an

 25   agreement with the government concerning your plea.             And I
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 15 of 28 PageID #: 4537
                                                                              15



  1   have a document here that appears to be the agreement.             It

  2   bears today's date on the last page.          And it has various

  3   signatures on the last page including one that also appears

  4   to be yours.

  5               Let me ask you if you would to examine the

  6   document.    And is that your signature on the last page, Mr.

  7   Allen?

  8               THE DEFENDANT:     Yes, Sir.

  9               THE COURT:    Before you signed the document, did

 10   you read the entire document?

 11               THE DEFENDANT:     Yes, Sir.

 12               THE COURT:    Did you discuss the various terms of

 13   this agreement with your attorney?

 14               THE DEFENDANT:     Yes, Sir.

 15               THE COURT:    Do you understand literally

 16   everything, absolutely everything, in this document?

 17               THE DEFENDANT:     Yes, Sir.

 18               THE COURT:    Except for any promises in writing in

 19   this document, did anyone make any promise to you to induce

 20   you to plead guilty?

 21               THE DEFENDANT:     No, Sir.

 22               THE COURT:    Alright.    I'll mark this as Exhibit 1

 23   for purposes of the proceeding today.          I'd like to review

 24   with you now the potential punishment for this offense.

 25               First of all, the statute under which you are
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 16 of 28 PageID #: 4538
                                                                            16



  1   charged permits the Court to impose a term of imprisonment

  2   of up to life in prison for this offense.

  3               Do you understand that?

  4               THE DEFENDANT:     Yes, Sir.

  5               THE COURT:    The statute does no prescribe a

  6   minimum term of imprisonment.        The statute also permits the

  7   Court to impose a term of supervised release.           The term of

  8   supervised release would commence after you completed any

  9   term of imprisonment that's imposed.

 10               The term of supervised release could last up to

 11   five years.     While you're serving a term of supervised

 12   release, you'll be required to comply with conditions set by

 13   the Court.

 14               If you fail to comply with any of the conditions,

 15   the Court has the option to sentence you to serve further

 16   time in prison.

 17               And on each occasion, when the Court finds that

 18   you have violated one or more of those conditions of

 19   supervised release, the Court may impose an additional term

 20   of imprisonment of up to five years without giving you any

 21   credit for any time you have spent in prison previously,

 22   with respect to this charge, either on your original

 23   sentence or if there are multiple times when you've violated

 24   conditions of release, even if you previously were sentenced

 25   to serve additional time because of a violation.
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 17 of 28 PageID #: 4539
                                                                            17



  1               The Court on the subsequent occasion can impose up

  2   to five years without giving you any credit for the previous

  3   times.

  4               Do you understand that?

  5               THE DEFENDANT:     Yes, Sir.

  6               THE COURT:    You also may be fined up to $250,000

  7   or twice the gross gain or loss from the criminal

  8   activities.     Is there any computation as to gain or loss at

  9   this point, Ms. Pokorny?

 10               MS. POKORNY:     The gain, I suppose, would be what

 11   he was paid.     And we're talking about under $15,000.

 12               THE COURT:      Alright, so that they --

 13               MR. DONALDSON:     Under $15,000.

 14               THE COURT:    So, the effective maximum would be the

 15   $250,000 for the fine.

 16               MS. POKORNY:     Yes.

 17               THE COURT:    Alright, so the effective maximum is

 18   $250,000.    Is there a restitution amount, Ms. Pokorny?

 19               MS. POKORNY:     There may be restitution

 20   particularly because there's a murder victim.           And so

 21   sometimes the families can put in for things like funeral

 22   expenses.    We don't have an amount at this time.

 23               THE COURT:    Okay.     So, you could be fined up to

 24   $250,000.    The Court may also enter an order of restitution

 25   to reimburse any victims of your offenses to the extent that
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 18 of 28 PageID #: 4540
                                                                            18



  1   they suffered monetary financial loss because of the

  2   offenses.

  3               Do you understand that?

  4               THE DEFENDANT:     Yes, Sir.

  5               THE COURT:    And, finally, the Court will be

  6   required to impose a special assessment of $100 with respect

  7   to this offense.

  8               Do you understand that?

  9               THE DEFENDANT:     Yes, Sir.

 10               THE COURT:    Mr. Donaldson, did you discuss with

 11   Mr. Allen the operation of the sentencing guidelines?

 12               MR. DONALDSON:     Yes.

 13               THE COURT:    Alright.    Mr. Allen, in sentencing

 14   you, the Court will have to consider some guidelines that

 15   may affect the judge's determination with respect to the

 16   sentence to impose.

 17               Your attorney tells me he's talked about the

 18   guidelines with you.       Do you recall discussing the subject

 19   with him?

 20               THE DEFENDANT:     Yes.

 21               THE COURT:    Alright.    I'll go over it just briefly

 22   then.    Before sentencing you, Judge Block will receive

 23   information about you and about the crime that's charged

 24   here.    He'll have to consider various factors about those

 25   matters and then make a determination about the guideline
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 19 of 28 PageID #: 4541
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  1   level that applies to your case.

  2               The guideline level that's determined in that

  3   fashion will prescribe a range of imprisonment that's the

  4   appropriate imprisonment -- or that's the recommended

  5   imprisonment, I should say, for a case.

  6               The judge is not required to sentence you within

  7   the range of imprisonment that's recommended by the

  8   guidelines, however.       The judge could decide to impose a

  9   sentence that's above what the guidelines recommend.             Or he

 10   could decide to impose a term of imprisonment below what the

 11   guidelines recommend.

 12               But, at a minimum, Judge Block will have to make a

 13   determination about what the proper guideline level is for

 14   your case.     And then he'll have to consider very carefully

 15   whether to sentence you in accordance with the guidelines or

 16   outside of the guidelines.

 17               If he decides to sentence you outside of what the

 18   guidelines recommend, then he'll have to give good reasons

 19   for the departure that he decides on.

 20               Do you understand that?

 21               THE DEFENDANT:     Yes, Sir.

 22               THE COURT:    What is the government's calculation.

 23   I'm going to ask the lawyer's to tell me what they think the

 24   calculation of the guidelines.        That is what the guidelines

 25   are likely to say.
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 20 of 28 PageID #: 4542
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  1               MS. POKORNY:     Yes, your Honor.     Here the parties

  2   are in agreement as set forth in paragraph two that the

  3   guidelines call for life.

  4               THE COURT:    Okay, so the applicable guideline

  5   level is a life guideline.

  6               MS. POKORNY:     That's right.

  7               THE COURT:    And I also see that the defendant

  8   agrees not to challenge that guideline calculation.             So, by

  9   virtue of your agreement, Mr. Allen, you have agreed that

 10   that is the proper calculation of the guidelines.

 11               Is there any other agreement with respect to the

 12   position that the defendant may take with respect to

 13   sentence, however, Ms. Pokorny?

 14               MS. POKORNY:     No.   The defendant as in this

 15   agreement as all our agreements -- most, I should say,

 16   leaves open the possibility for the defendant to seek a

 17   lower sentence.

 18               THE COURT:    Okay.    So, the defendant is free to

 19   make the argument to Judge Block that he can depart from the

 20   guidelines.

 21               MS. POKORNY:     He's free to make that argument.

 22               THE COURT:    Alright.    Alright, I do want to

 23   emphasize that Judge Block will have to make his own

 24   independent determination about the guidelines.            And then,

 25   beyond that, he has to make his own determination about what
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 21 of 28 PageID #: 4543
                                                                            21



  1   the proper sentence should be.

  2               No one can tell you now how he will decide any

  3   matters relating to sentence.        You won't know what those

  4   decisions will be until the actual time of sentence.

  5               Do you understand that?

  6               THE DEFENDANT:     Yes, Sir.

  7               THE COURT:    After sentence is imposed -- Well, let

  8   me see.    There's not much left to appeal with respect to

  9   sentence as I read this plea agreement, Ms. Pokorny.

 10               MS. POKORNY:     No, the defendant has waived his

 11   right to appeal.

 12               THE COURT:    Essentially that's right.        So, if you

 13   didn't have a plea agreement, Mr. Allen, you would have the

 14   right to appeal your sentence to a higher Court even if you

 15   plead guilty.

 16               But by virtue of paragraph four of your plea

 17   agreement, you've agreed that you will not file an appeal of

 18   your sentence.

 19               Do you understand that?

 20               THE DEFENDANT:     Yes, Sir.

 21               THE COURT:    Alright.    Do you have any questions

 22   you'd like to ask me?       Do you have any questions about the

 23   charge or your rights or about anything else related to this

 24   matter which may not be clear?

 25               THE DEFENDANT:     No, Sir.
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 22 of 28 PageID #: 4544
                                                                            22



  1               THE COURT:    Mr. Donaldson, is there anything else

  2   I should review with your client before proceeding to the

  3   allocution?

  4               MR. DONALDSON:     No, your Honor.

  5               THE COURT:    Ms. Pokorny, is there anything further

  6   I should review?

  7               MS. POKORNY:     No, your Honor.

  8               THE COURT:    Mr. Donaldson, do you know of any

  9   reason why Mr. Allen should not enter a plea of guilty to

 10   this charge?

 11               MR. DONALDSON:     I do not.

 12               THE COURT:    Are you aware of any viable legal, as

 13   opposed to factual, defense to the charge?

 14               MR. DONALDSON:     I do not.

 15               THE COURT:    Mr. Allen, are you ready to plead?

 16               THE DEFENDANT:     Yes, Sir.

 17               THE COURT:    How do you plead to the charge

 18   contained in the superseding information, guilty or not

 19   guilty?

 20               THE DEFENDANT:     Guilty, Sir.

 21               THE COURT:    Are you making this plea of guilty

 22   voluntarily and of your own free will?

 23               THE DEFENDANT:     Yes, Sir.

 24               THE COURT:    Has anybody threatened you or forced

 25   you to plead guilty?
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 23 of 28 PageID #: 4545
                                                                            23



  1               THE DEFENDANT:     No, Sir.

  2               THE COURT:    Other than your agreement with the

  3   government, has anyone made any promise to you that caused

  4   you to plead guilty?

  5               THE DEFENDANT:     No, Sir.

  6               THE COURT:    Did anyone make any promise to you or

  7   give you any assurances as to what your sentence will be?

  8               THE DEFENDANT:     No, Sir.

  9               THE COURT:    Alright, no one could do that because

 10   Judge Block and Judge Block alone will have to make the

 11   decision about your sentence.        And he won't make that

 12   decision until the actual time of sentence.           So, I presume

 13   that's clear?

 14               Is that clear, Sir?

 15               THE DEFENDANT:     Yes, Sir.

 16               THE COURT:    Can you tell me briefly in your own

 17   words what you did in connection with this offense that

 18   makes you guilty of the offense?

 19               THE DEFENDANT:     I, Russell Allen, as part of the

 20   McGriff criminal enterprise in 2001 by Queens and elsewhere

 21   agreed with others to kill Eric Smith and Troy Singleton on

 22   July 16th by firing the weapon at or near Eric Smith.

 23               Regarding Troy Singleton, I did agree to kill him

 24   and did participate in trying to locate him for the purpose

 25   of killing him.
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 24 of 28 PageID #: 4546
                                                                            24



  1               THE COURT:    So, as I understand it, you were part

  2   of a group of people who worked together to earn money

  3   through criminal activities.

  4               THE DEFENDANT:     Yes, Sir.

  5               THE COURT:    Alright.    And in connection with your

  6   association with that group of people, you participated and

  7   agreed with others to participate in the murders of both

  8   Eric Smith, also known as E. Moneybags and Troy Singleton.

  9               THE DEFENDANT:     Yes, Sir.

 10               THE COURT:    And am I correct that your decision to

 11   do that was for the purpose of furthering the purposes of

 12   the enterprise that you described a moment ago?

 13               THE DEFENDANT:     Yes, Sir.

 14               THE COURT:    With respect to the murder of Mr.

 15   Smith, what role did you play in connection with that?

 16               THE DEFENDANT:     I was shooting, shooting at him.

 17               THE COURT:    Alright, you actually pulled the

 18   trigger on the weapon?

 19               THE DEFENDANT:     Yes.

 20               THE COURT:    And I think you said with respect to

 21   Mr. Singleton you participated in efforts to locate him for

 22   the purpose of the murder?

 23               THE DEFENDANT:     Yes, Sir.

 24               THE COURT:    And you knew that that was the purpose

 25   for which you were seeking to locate him?
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 25 of 28 PageID #: 4547
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  1               THE DEFENDANT:     Yes, Sir.

  2               THE COURT:    Is there anything further about which

  3   I should inquire, Ms. Pokorny?

  4               MS. POKORNY:     I would like to add that the

  5   government would be prepared to prove the existence of the

  6   McGriff Enterprise.      And that we would do that through

  7   cooperator testimony, through the seizure of drugs and

  8   significant quantities of money and text messages.

  9               And we would also be prepared to prove that the

 10   McGriff Enterprise affected interstate commerce by engaging

 11   in drug trafficking in multiple states including New York,

 12   Maryland and elsewhere.

 13               THE COURT:    So, am I correct in understanding that

 14   you had through testimony and corroborated by other physical

 15   evidence that people associated with the same group of

 16   people that Mr. Allen was part of engaged in money

 17   laundering and narcotics activity?

 18               MS. POKORNY:     Exactly.    Other than that --

 19               THE COURT:    And that the activity affected

 20   interstate commerce in that at least some of the activity

 21   crossed state lines?

 22               MS. POKORNY:     That's correct.

 23               THE COURT:    Alright.    Is there anything further

 24   about which I should inquire?

 25               MS. POKORNY:     No, your Honor.
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 26 of 28 PageID #: 4548
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  1               THE COURT:    Mr. Donaldson?

  2               MR. DONALDSON:     No, your Honor.

  3               THE COURT:    Alright, based on the information

  4   that's been provided today, I do find that Mr. Allen

  5   understands the charge.       He fully understands his rights and

  6   the consequences of his plea.

  7               I find also that there's a factual basis for the

  8   plea.    And, therefore, I recommend that Judge Block accept

  9   Mr. Allen's plea of guilty to the superseding information.

 10               Has Judge Block set a date for sentencing, Mr.

 11   Toritto?

 12               THE CLERK:    No, your Honor.      It will set from the

 13   Probation Department.

 14               THE COURT:    Alright, so there's not now a date set

 15   for your sentence, Mr. Allen.        That date will be set once

 16   the Probation Department of the Court completes a

 17   presentence report.

 18               In order to prepare the presentence report a

 19   probation officer will interview you.          You have the right to

 20   have your attorney present during the interview.

 21               You have the right to see the report that's

 22   prepared as well.      And you'll have the right to bring to the

 23   Court's attention any errors or any matters that are not

 24   properly covered by the report.

 25               You should bear in mind during the interview
Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 27 of 28 PageID #: 4549
                                                                            27



  1   process that the interview is the principal way that the

  2   Court finds out about a defendant's background and personal

  3   circumstances so that those matters can be brought to the

  4   attention of the Court.

  5               So, it is sometimes in the interest of the

  6   defendant to cooperate with the probation officer during the

  7   interview.     You should, of course, listen to your attorney's

  8   advise with respect to that.

  9               Is there any other matter to address today before

 10   we adjourn, Counsel?

 11               MS. POKORNY:     No, your Honor.

 12               THE COURT:    Mr. Donaldson?

 13               MR. DONALDSON:     No, your Honor.

 14               THE COURT:    Alright.

 15               ALL:   Thank you very much.

 16               (Pause in proceedings)

 17               THE COURT:    Alright, we are adjourned.        I will

 18   return to counsel for the government the plea agreement

 19   which was marked as Exhibit 1 to be maintained for further

 20   proceedings that may be necessary.         And we're adjourned.

 21               * * * * * * * * * * * * * *

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Case 1:04-cr-00966-FB Document 810 Filed 07/22/08 Page 28 of 28 PageID #: 4550
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 18         I certify that the foregoing is a correct transcript

 19   from the electronic sound recording of the proceedings in

 20   the above-entitled matter.

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 25   ELIZABETH BARRON                             July 22, 2008
